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Buchanan; Antony Burgmans; William M. Castell; Rodney F. Chase; Paula J. Clayton;
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Ford; Alastair M. Graham; Byron E. Grote; Anthony B. Hayward; Deanne S. Julius;
Charles F. Knight; Floris A. Maljers; Robert A. Malone; Neil R. McCleary; Thomas F.W.
McKillop; John A. Manzoni; Stephen Marshall; Walter E. Massey; H. Michael P. Miles;
Robin B. Nicholson; Richard L. Olver; Chris J. Phillips; Ross J. Pillari; Daniel B.
Pinkert; Debra A. Plumb; Stanley P. Presley; Ian M.G. Prosser; Ian Springett; Peter D.
Sutherland; and Michael H. Wilson; and Nominal Defendants BP p.l.c.; BP America Inc.;
BP Oil Co. Inc.; and BP Exploration (Alaska) Inc.


                       IN THE UNITED STATES DISTRICT COURT

                   FOR THE DISTRICT OF ALASKA AT ANCHORAGE


UNITE HERE NATIONAL RETIREMENT FUND,        ) Case No. 3:06-cv-00239 RRB
LONDON PENSIONS FUND AUTHORITY, and         )
JEFFREY PICKETT, Derivatively On Behalf of  )
BP p.l.c., BP AMERICA INC., BP OIL CO. INC. )
and BP EXPLORATION (ALASKA) INC.,           )
                                            )
                           Plaintiffs,      )
                                            )
vs.                                         ) SUPPLEMENTAL ENTRY
____________________________________________)    OF APPEARANCE
[Caption continued on following page.]

Unite Here National Retirement Fund, et al v. Browne, et al   Case No. 3:06-cv-00239 RRB
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THE LORD JOHN BROWNE OF MADINGLEY,                            )
IAN M.G. PROSSER, PETER D. SUTHERLAND,                        )
BYRON E. GROTE, ANTHONY B. HAYWARD,                           )
JOHN A. MANZONI, DAVID C. ALLEN, IAIN C.                      )
CONN, JOHN H. BRYAN, ERROLL B. DAVIS, JR.,                    )
WALTER E. MASSEY, H. MICHAEL P. MILES,                        )
MICHAEL H. WILSON, DEANNE S. JULIUS,                          )
THOMAS F.W. McKILLOP, ANTONY                                  )
BURGMANS, DOUGLAS J. FLINT, WILLIAM M.                        )
CASTELL, ROBERT A. MALONE, ROSS J.                            )
PILLARI, STEPHEN MARSHALL, DEBRA A.                           )
PLUMB, DEBRA A. DOWLING, IAN SPRINGETT,                       )
DANIEL B. PINKERT, NEIL R. McCLEARY,                          )
PAULA J. CLAYTON, ALASTAIR M. GRAHAM,                         )
CHRIS J. PHILLIPS, STANLEY P. PRESLEY,                        )
ROBIN B. NICHOLSON, CHARLES F. KNIGHT,                        )
FLORIS A. MALJERS, RICHARD L. OLVER,                          )
RODNEY F. CHASE, JOHN G.S. BUCHANAN,                          )
RICHARD C. WOOLLAM and WILLIAM                                )
DOUGLAS FORD,                                                 )
                                                              )
                                Defendants.                   )
                                                              )
        -and-                                                 )
                                                              )
BP p.l.c., BP AMERICA INC., BP OIL CO. INC.                   )
and BP EXPLORATION (ALASKA) INC.,                             )
                                                              )
                                Nominal Defendants.           )
                                                              )



                      SUPPLEMENTAL ENTRY OF APPEARANCE


        Jeffrey M. Feldman of FELDMAN, ORLANSKY & SANDERS, having previously

entered an appearance on behalf of BP America Inc., enters its appearance on behalf of:




Unite Here National Retirement Fund, et al v. Browne, et al       Case No. 3:06-cv-00239 RRB
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                David C. Allen; Lord John Browne; John H. Bryan; John G.S.
                Buchanan; Antony Burgmans; William M. Castell; Rodney F.
                Chase; Paula J. Clayton; Iain C. Conn; Erroll B. Davis, Jr.;
                Debra A. Dowling; Douglas J. Flint; William Douglas Ford;
                Alastair M. Graham; Byron E. Grote; Anthony B. Hayward;
                Deanne S. Julius; Charles F. Knight; Floris A. Maljers;
                Robert A. Malone; Neil R. McCleary; Thomas F.W.
                McKillop; John A. Manzoni; Stephen Marshall; Walter E.
                Massey; H. Michael P. Miles; Robin B. Nicholson; Richard
                L. Olver; Chris J. Phillips; Ross J. Pillari; Daniel B. Pinkert;
                Debra A. Plumb; Stanley P. Presley; Ian M.G. Prosser; Ian
                Springett; Peter D. Sutherland; and Michael H. Wilson; and
                Nominal Defendants BP p.l.c.; and BP Exploration (Alaska)
                Inc.


                John L. Warden, Richard C. Pepperman, II, and Steven J. Purcell of
Sullivan & Cromwell, enter their appearances as co-counsel on behalf of BP America
Inc. and all other defendants and nominal defendants listed above.
                All counsel should be served with pleadings in this matter at the addresses
indicated below.
                Dated this 6th day of November, 2006.
                                                FELDMAN ORLANSKY & SANDERS
                                                Attorneys for Defendants David C. Allen; Lord
                                                John Browne; John H. Bryan; John G.S.
                                                Buchanan; Antony Burgmans; William M.
                                                Castell; Rodney F. Chase; Paula J. Clayton; Iain
                                                C. Conn; Erroll B. Davis, Jr.; Debra A.
                                                Dowling; Douglas J. Flint; William Douglas
                                                Ford; Alastair M. Graham; Byron E. Grote;
                                                Anthony B. Hayward; Deanne S. Julius;
                                                Charles F. Knight; Floris A. Maljers; Robert A.
                                                Malone; Neil R. McCleary; Thomas F.W.
                                                McKillop; John A. Manzoni; Stephen Marshall;
                                                Walter E. Massey; H. Michael P. Miles; Robin
                                                B. Nicholson; Richard L. Olver; Chris J.
                                                Phillips; Ross J. Pillari; Daniel B. Pinkert;
                                                Debra A. Plumb; Stanley P. Presley; Ian M.G.
                                                Prosser; Ian Springett; Peter D. Sutherland; and
                                                Michael H. Wilson; Nominal Defendants BP
                                                p.l.c.; BP America Inc.; BP Oil Co. Inc.; and BP
                                                Exploration (Alaska) Inc.



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Supplemental Entry of Appearance                                                       Page 3 of 4
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                                                By: s/ Jeffrey M. Feldman
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                                                       (N.Y. Bar No. 0957)
                                                       Steven J. Purcell
                                                       (N.Y. Bar No. 1661)
                                                       (Pro Hac Vice pending)
                                                       SULLIVAN & CROMWELL, LLC




CERTIFICATE OF SERVICE

I hereby certify that on the 6th day of November, 2006, a copy of the Supplemental Entry
of Appearance was served electronically on: James E. Fosler and James E. Torgerson.

s/ Jeffrey M. Feldman




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